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                                     UNITED STATES DISTRICT COURT
                                               FOR THE
                                   EASTERN DISTRICT OF PENNSYLVANIA

                                                                          )
STEVEN P. TENGOOD,                                                        )
                                                                          )
                            Plaintiff,                                    )
                                                                          )              Civil Action No. ______________
                                 vs.                                      )
                                                                          )              JURY TRIAL REQUESTED
CITY OF PHILADELPHIA, a Pennsylvania                                      )
Municipal Corporation, THOMAS M.                                          )
CONWAY, in his capacity as an individual and                              )
in his official capacity as Deputy Managing                               )
Director - Philadelphia Managing Director’s                               )
Office & Co-Director of the Community Life                                )
Improvement Program; RYCHARDE                                             )
SICINSKI a/k/a RICK SICINSKI, in his                                      )
capacity as an individual and in his official                             )
capacity as a Chief Code Enforcer -                                       )
Philadelphia Department of Licenses &                                     )
Inspections’ Community Life Improvement                                   )
Program; MARTIN HIGGINS a/k/a MARTY                                       )
HIGGINS, in his capacity as an individual and                             )
in his official capacity as Inspector -                                   )
Philadelphia Department of Licenses &                                     )
Inspections’ Community Life Improvement                                   )
Program; ROSEANNE ELIA, in her capacity                                   )
as an individual and in her official capacity as                          )
an Inspector - Philadelphia Department of                                 )
Licenses & Inspections Community Life                                     )
Improvement Program; BEVERLY L. PENN,                                     )
in her capacity as an individual and in her                               )
official capacity as Deputy City Solicitor Code                           )
Enforcement Division,                                                     )
                   Defendants.                                            )

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Appendix I                                                                                                     i
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                          UNITED STATES DISTRICT COURT
                                    FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA
                                                   )
STEVEN P. TENGOOD,                                 )
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an Inspector - Philadelphia Department of          )
Licenses & Inspections Community Life              )
Improvement Program; BEVERLY L. PENN,              )
in her capacity as an individual and in her        )
official capacity as Deputy City Solicitor Code    )
Enforcement Division,                              )
                   Defendants.                     )

                                    CIVIL COMPLAINT

              Plaintiff Steven P. Tengood, by and through the undersigned attorney, and for his

Complaint against Defendants City of Philadelphia, Thomas M. Conway, Rycharde Sicinski a/k/a




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Rick Sicinski, Martin Higgins a/k/a Marty Higgins, Roseanne Elia, and Beverly L. Penn, states

as follows:

                                           I. INTRODUCTION

   A. RELEVANT TIMES:

         1.      The times relevant to this Complaint are from on or about February 2004 through

May 13, 2011, the date of the City’s most recent notice of violation to Steven P. Tengood, and

through and continuing to the filing of this Complaint (hereinafter as, the “Relevant Times”).


   B. PARTIES TO THIS ACTION:

                                              Plaintiff

         2.      Plaintiff Steven P. Tengood (hereinafter as, “Mr. Tengood”) is an adult individual

and resident of the Commonwealth of Pennsylvania, with his principle address located at 7219

Saul Street, Philadelphia, PA 19149. Mr. Tengood is sixty two (62) years old, a graduate of

Drexel University, and a retired civilian employee of both the United States Navy and Army. Mr.

Tengood was employed by the Navy for over twenty three (23) years and the Army for sixteen

(16) months, respectively, as a logistics management specialist in the technical publications

division. Mr. Tengood has lived at 7219 Saul Street continuously for the past forty four (44)

years.

                                            Defendants

         3.      Defendant City of Philadelphia (hereinafter as, the “City”) is a municipal

corporation of the first class, situated in the Commonwealth of Pennsylvania, with its principal

place of business located at 1515 Arch Street, Philadelphia, PA 19102. During the Relevant

Times the City acted as a principal and/or through its agents, employees, and contractors, all of



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whom represented themselves as acting in the course of their employment and within the scope

of their authority, including but not limited to those individual Defendants identified in

Paragraphs 4 through 8 of this Complaint.

       4.      Defendant Thomas M. Conway (hereinafter as, “Conway”) is an adult individual

and resident of the Commonwealth of Pennsylvania, with his principle address located at 9336

Tulip Street, Philadelphia, PA 19114. During the Relevant Times Conway was employed by the

City as a Deputy Managing Director in the Managing Directors’ Office and/or The Mayor’s

Office of Community Service.        Conway was also co-director of the Community Life

Improvement Program (hereinafter as “CLIP”) and was ultimately responsible for the training,

supervision, and conduct of defendants Rycharde Sincinski, Martin Higgins, and Roseanne Elia.

Conway is further responsible by law, including but not limited to the provisions of the

Philadelphia Home Rule Charter, for enforcing the regulations of the City and for ensuring that

City inspectors and clean up crews working within its departments obey the laws of the

Commonwealth of Pennsylvania and the United States of America. Conway is an associate of the

City, Martin Higgins, Rycharde Sicinski, Roseanne Elia, and Beverly L. Penn.

       5.      Defendant Rychard Sicinski a/k/a Rick Sicinski (hereinafter as, “Sicinski”) is an

adult individual and resident of the Commonwealth of Pennsylvania, with his principle address

located at 9312 Germania Street, Philadelphia, PA 19114. During the Relevant Times Sicinski

was employed by the City as a chief inspector and/or chief code enforcer with CLIP. During the

Relevant Times, Sicinski was, therefore, also responsible for the training, supervision, and

conduct of defendants Martin Higgins, and Roseanne Elia. Sicinski recently pled guilty to

multiple felony charges including: receiving stolen property; criminal trespass; official

oppression; and burglary, before the Court of Common Pleas of Philadelphia County, as a result


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of his malfeasance while working for the City. Commonwealth v. Sicinski, No. CP-51-

CR-0001173-2010 (Ct. Com. Pl. Phila. County Jan. 29, 2010). A true and correct copy of Docket

No. CP-51-CR-0001173-2010 is incorporated herein and attached here to as Exhibit “A”.

Sicinski is an associate of the City, Conway, Martin Higgins, Roseanne Elia, and Beverly L.

Penn.

        6.      Defendant Martin Higgins a/k/a Marty Higgins (hereinafter as, “Higgins”) is an

adult individual and resident of the Commonwealth of Pennsylvania, with his principle residence

located at 1122 Wakeling Street, Philadelphia, PA 19124. During the Relevant Times, Higgins

was employed by the City as an inspector with CLIP. Higgins is an associate of the City,

Conway, Sicinski, Roseanne Elia, and Beverly L. Penn.

        7.      Defendant Roseanne Elia (hereinafter as, “Elia”) is an adult individual and

resident of the Commonwealth of Pennsylvania, with her principle residence located at 8424

Algon Avenue, Philadelphia, PA 19152. During the Relevant Times Elia was employed by the

City as an inspector with CLIP. Elia is an associate of the City, Conway, Sicinski, Higgins, and

Beverly L. Penn.

        8.      Defendant Beverly L. Penn (hereinafter as, the “City Solicitor”) is an adult

individual and resident of the Commonwealth of Pennsylvania, with her principle residence

located at 6655 McCallum Street, Apt. 213E, Philadelphia, PA 19119. During the Relevant

Times the City Solicitor was employed by the City as a Deputy City Solicitor with the Code

Enforcement Division. The City Solicitor is an associate of the City, Conway, Sicinski, Higgins,

and Elia.




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   C. NATURE OF THE ACTION:

                          Racketeer Influenced Corrupt Organizations

       9.       This Complaint arises from, inter alia, defendants’ violations of The Organized

Crime Control Act of 1970, Pub. L. No. 91-452, Section 901(a), 84 Stat. 941, Racketeer

Influenced and Corrupt Organizations (hereinafter as, “RICO”), and is brought by Steven P.

Tengood in connection with a scheme devised, conducted, and/or participated in by the named

Defendants, intended to defraud, intimidate, and ultimately steal money and/or property from Mr.

Tengood. The scheme relied upon and was facilitated by the misappropriation of federal, state,

and municipal funds and equipment, including tools, cameras, vehicles and other general

inventory, and was effected, directly or indirectly, by making use of the means and instruments

of transportation and communication in interstate commerce, including the United States’ Mails.

       10.      In carrying out the scheme to defraud Mr. Tengood, Defendants engaged, inter

alia, in conduct in violation of Federal laws, to wit: mail fraud and conspiracy to commit mail

fraud in violation of 18 U.S.C. §§ 1341 and 1349 respectively, by transmitting and causing to be

transmitted writings, signs, and signals, by means of the United States Postal Service, for the

purposes of executing the scheme and artifice to defraud; violation of 18 U.S.C. § 1951 for

obstructing the movement of goods in commerce by extortion; and violation of 18 U.S.C. § 1513

(b) for retaliating against a witness or victim for attendance at an official proceeding by

damaging that person’s tangible property.

       11.      In carrying out the scheme to defraud Mr. Tengood, Defendants also engaged,

inter alia, in conduct in violation of the laws of the Commonwealth of Pennsylvania, to wit: theft

by unlawful taking or disposition of property in violation of 18 Pa. C.S. § 3921; theft by



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deception in violation 18 Pa. C.S. § 3922; and theft by extortion in violation of 18 Pa. C.S. §

3923.

                                    Additional Federal Claims

        12.      This Complaint also alleges: (i) violations of the Civil Rights Act of 1964, 42

U.S.C. § 1983, for deprivation of rights, including violations of Mr. Tengood’s substantive and

procedural due process rights articulated in the 4th Amendment and incorporated in the Due

Process Clause of the 14th Amendment to the United States Constitution, by Defendants, for

unlawful entry upon private property and the unlawful seizure of personal possessions; and (ii) in

the alternative, violation of the American’s With Disabilities Act of 1990, 126 U.S.C. § 12132,

by Defendants, for discrimination against a disabled citizen in conjunction with the

administration of a federally funded program.

                                       Pennsylvania Claims

        13.      This complaint further alleges State claims for: (iii) common law Negligence

based on the Defendants’ failure to act with appropriate care in the execution of their official

duties, consistent with, among others, the standards set forth in the Philadelphia Home Rule

Charter; (iv) common law Conversion for the intentional and unprivileged dispossession of

personal property; (v) common law Trespass for the intentional and unprivileged intrusion on

private land; (vi) common law Invasion of Privacy for tortious intrusion into a place of seclusion

and investigation of private concerns; and (viii) claims for Malicious Prosecution in violation of

the Dragonetti Act, 42 Pa. C.S. § 8351 et seq., all to the party named for purposes of relief.

                                         Prayer for Relief

        14.      Plaintiff Steven P. Tengood seeks actual damages in excess of $25,000,

compensatory damages in excess of $50,000, punitive damages in excess of $250,000, plus

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treble damages arising under the RICO claims, and restrictions upon Defendants’ future conduct,

together with costs of investigation and suit, attorney’s fees, and interest. Plaintiff thus seeks a

recovery of damages from Defendants in excess of $925,000.


   D. FEDERAL JURISDICTION:

                                   Subject Matter Jurisdiction

       15.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331 (Federal Question); claims for relief under 18 U.S.C. §§ 1964(a) (Equity) and 1964(c)

(Right to Sue and Treble Damages); 42 U.S.C. § 1983 and § 1985 (Civil Action for Deprivation

of Rights); 42 U.S.C. § 12133 (Civil Action for Disability Discrimination in Connection with a

federally funded program) and violations of the 4th Amendment to the United States

Constitution , as incorporated by the due process clause of the 14th Amendment, for unlawful

search and seizure.

       16.     This Court has supplemental jurisdiction over the subject matter of the state law

claims alleged herein pursuant to 28 U.S.C. § 1367.

                                Personal Jurisdiction and Venue

       17.     Personal jurisdiction and venue are predicated upon 18 U.S.C. § 1965(a) and (b)

and 28 U.S.C. § 1391(b) and (c), since the Defendants are either residents of, have an agent or

agents, or transact their affairs in, the Eastern District of Pennsylvania, the acts and occurrences

in furtherance of the claims alleged herein arose in the Eastern District of Pennsylvania, and

because the ends of justice require that other parties residing in other districts be brought before

this Court.




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                   II. THE OFFENDING SCHEME AND ITS COMPONENTS

   A. GENERAL ALLEGATIONS:

                                       The Overall Scheme

       18.     The scheme to defraud Mr. Tengood was part of a broader criminal conspiracy

engaged in by Defendants that targeted elderly or otherwise vulnerable citizens of Philadelphia.

The scheme was comprehensive in scope and specifically designed to intimidate, rob, and/or

extort money and property from select residents of the northeast section of the City.

       19.     Over the course of several years, during the Relevant Times, the Defendants

conspired to, and did, enter at least six private residences (excluding Mr. Tengood’s residence)

under the fraudulent pretenses of needing to clear the homes of various code violations. These

violations were served together with fraudulent or inflated bills for municipal services deemed

necessary to remedy the violations.

       20.     Entrance to these homes proceeded in each instance without the owners’ consent

and/or without legal authority. Once inside the homes, the conspirators systematically stole

items of value from the premises. In the most egregious instances City trucks were actually

driven to the target homes and their contents removed en masse: televisions; dining room

furniture sets; floor safes; silver flatware settings; clothing; family heirlooms; and several large

gun collections. Presentment at 2, In Re County Investigating Grand Jury XXIII, No.

000901-2008 (Ct. Com. Pl. Phila. County Dec. 15, 2009). A true and correct copy of the

Presentment is incorporated herein and attached hereto as Exhibit “B”.

       21.     The scheme was facilitated, at least in part, through the misappropriation of

federal funding, together with other items of general City inventory, that had been allocated as

part of an anti-blight policy initiative being implemented in Philadelphia’s most distressed


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neighborhoods. These funds and physical resources all passed within the stream of or otherwise

had a substantial connection to interstate commerce.

                     City’s Departmental Structure & Managerial Hierarchy

         22.   The scheme was participated in by a number of City departments and sub-

departments, together with individual employees of the City, ranking from lower level

inspectors, to program managers, and up through to the executive tier in the Managing

Directors’ Office -- including the individual Defendants identified in Paragraphs 4 through 8

above.

         23.   The participant departments and sub-departments included the City’s: Department

of Licenses & Inspections (hereinafter as L&I), Department of Streets (hereinafter as “Streets”),

Mayor’s Office of Community Services (hereinafter as, “Community Services”), Solicitors’

Office, and CLIP -- each of which was ultimately overseen by the Managing Directors’ Office

(hereinafter as, the “MDO”). These departments and sub-departments exist under the authority

of and are governed by, inter alia, the Philadelphia Home Rule Charter.

         24.   CLIP was/is situated somewhere between L&I, Streets, and the MDO, drawing

resources from each as necessary to carryout its operational objectives.            Therefore, CLIP

functioned as the logistical nexus for the various departments and individuals participating in the

scheme. Moreover, CLIP and its inspectors succeeded as the principal conduit through which the

Defendants were able to directly perpetrate their scheme against Mr. Tengood.

         25.   Participation in the overall scheme has so far resulted in at least nine felony

convictions (including Rycharde Sicinski) by the Philadelphia District Attorney on charges

including: conspiracy, perjury, theft, corrupt organizations, and illegal trafficking in firearms.




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                               Organizational Structure of CLIP

       26.     Notwithstanding the inter-departmental cooperation described in Paragraphs 22

and 23 above, CLIP maintained its own dedicated staff of inspectors, code enforcers, and clean-

up crews during the Relevant Times described herein.

       27.     CLIP employees are all City employees assigned to the initiative by the

Department of Licenses Inspections, the Mayor’s Office of Community Services, or the

Managing Director’s Office.

       28.     In particular, Deputy Managing Director Thomas Conway was employed as the

chief overseer of CLIP and acted as an executive level liaison between CLIP, the Mayor’s Office,

and other top tier administrative agencies of the City. Rycharde Sicinski was employed by the

City as CLIP’s chief code enforcer and inspector in or about the years 2004 through December

2009. During this time Sicinski was responsible for overseeing all CLIP staff and clean-up crew

members, as well as administering and enforcing the program’s policies and procedures. During

the Relevant Times, Martin Higgins and Roseanne Elia were also employed by the City as CLIP

inspectors. Higgins and Elia received direction from and reported to Sicinski in his capacity as

chief code enforcer/inspector during the Relevant Times.

                       CLIP’s Policy Mandate and Operational Objectives

       29.     In April 2002, lead by Councilwoman Joan Krajewski, the City launched CLIP, a

campaign to target “quality of life” code violations, such as graffiti, vandalism, and property

neglect, as part of a broader policy agenda known as the Neighborhood Transformation Initiative

(hereinafter as, the “NTI”).

       30.     CLIP was originally introduced in the City’s 6th and 10th Council Districts

(hereinafter as the, “Northeast”) with plans for citywide expansion in future years. CLIP’s


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mandate is to act as a quick response unit, giving violators twenty (20) days (or less, in so called

“emergency” situations) to remediate property code violations after receiving written notice from

CLIP inspectors.

       31.     If a violator takes no action, CLIP crews are empowered to resolve the violation

(i.e., cut high weeds back, remove trash, clean and seal the property) and then charge the

property owner with a fine and fee for any remediation services performed.

       32.     If the property owner does not pay the fine and fee, the amount is placed as a lien

on the violator’s property. Office of the Mayor, City of Philadelphia: The Mayor’s Operating

Budget - Fiscal Year 2004 (2003).

       33.     In extreme situations non-compliant property owners can be criminally charged

and face jail time.

       34.     CLIP action is triggered when a complaint comes into its office - sometimes from

City Council members, sometimes from neighbors of the subject property, sometimes through

referrals from the police, the fire department, or L&I. Presentment at 6.

       35.     CLIP inspectors are not, however, charged with issuing fire code violations nor

are they responsible for inspecting the interior of buildings. Rather, CLIP members are charged

with monitoring violations of the Property Maintenance Code relating to the exteriors of

buildings, trash, and residential yards. Id. at 6 - 7. In fact, following the criminal indictment of

the CLIP conspirators, Mayor Nutter expressly proscribed CLIP’s authority to regulate any

aspect of the interior conditions of any property in the City.

                           Defendants’ Targeting of Steven P. Tengood

       36.     In so far as the overall scheme directly targeted Mr. Tengood it involved a

combination of the following conduct by Defendants: (i) the misappropriation of federal, state,


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and city funds, equipment and general inventory in order to further the overall objectives of the

scheme; (ii) the issuance of fraudulent or grossly inflated notices of municipal code violations,

sent through the United States’ Mail, as a means of intimidating Mr. Tengood and forcing him to

relinquish his personal property; (iii) reliance upon the aforementioned notices as a fraudulent

basis for entry onto Mr. Tengood’s private property and the seizure of his personal possessions

situated thereon under the color of City authority, and to further threaten and intimidate him, in

exchange for his eventually being left alone by Defendants; (iv) the issuance of fraudulent bills,

sent through the United States’ Mail, for services provided by the City of Philadelphia deemed

necessary to remediate the aforementioned code violations; and (v) the malicious pursuit of two

groundless civil actions before the Philadelphia Court of Common Pleas for the purpose of

further threatening and intimidating Mr. Tengood, and in order to illegitimately procure a warrant

to permit entry into his home to effect Defendant’s ulterior intent of stealing additional items of

his personal property.

       37.     All such conduct was engaged in solely for the monetary and proprietary

enrichment of Defendants, under the deceitful guise of legitimate law enforcement efforts and/or

the necessary implementation of the City’s executive and legislative policy, and served no

beneficial public purpose.


   B. THE MISAPPROPRIATION OF FUNDS SCHEME:

       The Neighborhood Transformation Initiative and the Federal Funding of CLIP

       38.     Former Philadelphia Mayor John F. Street unveiled the Neighborhood

Transformation Initiative (hereinafter as “NTI”) in April 2001. The NTI was an aggressive plan

to combat blight in distressed Philadelphia neighborhoods through the sale of $250 million in

general obligation bonds to finance the acquisition of property, the demolition of derelict

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buildings, and the assemblage of large tracts of land for housing redevelopment. In particular,

$20 million was to be allocated for “neighborhood preservation” across the City.

       39.       Ultimately Philadelphia City Council voted to authorize the Redevelopment

Authority to issue two hundred and ninety five million dollars ($295M) in bonds to finance NTI.

Stephen J. McGovern, Philadelphia’s Neighborhood Transformation Initiative: A Case Study of

Mayoral Leadership, Bold Planning, and Conflict (Fannie Mae Found.) 17 Housing Policy

Debate 529, at 537 (2006).

       40.       The money raised from the bond sale was supplemented by additional federal

funds that were used to help sustain NTI over a five-year life span.

       41.       Mayor Street also committed to harnessing resources for capital projects to

advance the goal of neighborhood transformation, including an ear mark of approximately five

hundred million dollars ($500M) in federal and state funds for non-housing projects related to

eliminating blight such as “neighborhood beautification.”

       42.       From this umbrella pool of funds roughly two million dollars ($2M) was used

annually to fund CLIP’s operations between 2002 and the present. Redevelopment Authority

Association of Community Development Corporations, City of Philadelphia: Vacant Land

Management in Philadelphia, The Costs of the Current System and the Benefits of Reform - Final

Report (2010).

                               The Illicit Diversion of Federal Funds

       43.       The City, and more specifically Sicinski, Higgins, and Elia, in their capacities as

City employees, were direct or indirect recipients of, and were otherwise entrusted with, federal

funds that had been allocated as part of the NTI policy agenda. They systematically diverted

these funds away from their intended use of combatting blight in Philadelphia neighborhoods


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and instead used these financial resources to further their conspiracy of defrauding Tengood and

others for their own personal benefit.

       44.     Additionally, the Defendant Inspectors misused physical resources in furtherance

of their scheme, including but not limited to, City owned vehicles, tools, and other general

inventory, some or, all of which, were purchased with the federal funds described above.

       45.     Moreover, these funds and other resources were transferred within and/or in the

aggregate had a substantial relationship to interstate commerce.


   C. THE UNLAWFUL ENTRY AND SEIZURE OF PROPERTY SCHEME:

                         The Corruption of Inspectors Sicinski and Elia

       46.     The corruption of Sicinski began in or about February 2004 when he first used his

position as a CLIP inspector to gain entry to a private residence and to steal personal property

located therein.

       47.     On or about February 27, 2004, Mr. Herbert Gold (then 75 years old) of 1313

Unruh Street, Philadelphia, PA reported a theft to the Philadelphia Police Department. This

report indicated that Siciniski had come to Mr. Gold’s house and requested access to the back

yard to take pictures of the neighbor’s house, which was allegedly in violation of the

Philadelphia Code. According to the report, Mr. Gold’s briefcase, including $900.00 cash inside,

went missing immediately after Sicinski was inside the house. Presentment at 46.

       48.     Following an inquiry by detectives and then deputy commissioner of L&I, Robert

Solvible, it was determined that Sicinski did in fact have Mr. Gold’s briefcase. Sicinski claimed

he had found the briefcase in the trash outside an abandoned building near 1313 Unruh Street --

however, photographs that were taken on the day of the theft do not depict any such trash

surrounding the property. Id.

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       49.     Some time after the briefcase theft Sicinski began formulating a plan to expand

upon the basic modus operandi he established at 1313 Unruh Street. He set out to recruit other

CLIP inspectors and crew members to help him identify and target additional victims throughout

the Northeast. It was Sicinski’s intention, through coercion and enticement, to compromise the

integrity of Elia, among others, and thereby secure her participation in a more comprehensive

scheme involving various illegal activities, including extortion, theft, and the illicit acquisition

and sale of firearms, all built upon the Unruh model.

       50.     Upon information and belief, Sicinski, Elia, and other CLIP employees thus began

developing a profile to serve as the basis for selecting targets of their scheme. Sicinski and Elia

compiled this profile based on their prior work in the field as CLIP inspectors, having become

familiar with numerous homes and their residents throughout the Northeast.

       51.     Sicinski and Elia (and later Higgins) began devoting additional time and resources

(including but not limited to City owned vehicles, cameras, and tools) to travel throughout the

Northeast with the specific purpose of conducting supplemental observations of particular

properties/residents in order to hone in on ideal targets for the scheme. These observations were

carried out with impunity, under the convenient guise of performing their day-to-day

responsibilities as CLIP employees.

       52.     Their accumulated experience and observations enabled them to develop an ideal

profile for the types of people and properties on which to focus their scheme, namely: (1) elderly

and/or disabled persons, preferably living alone; (2) at addresses situated within a roughly

sixteen square mile (16 mile2) section of the Northeast bounded by Red Lion Road to the North

and Bridge Street to the South, and between Interstate 95 to the East and Algon Avenue to the




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West; (3) with an apparent quantity of personal possessions kept in their homes. See Map

incorporated herein and attached hereto as Exhibit “C”.

        53.     One additional target was identified at an address outside of the aforementioned

geographic area at 2911 Boudinot Street.           The owner of that property, Mr. John Owens,

nevertheless fit the target profile in all other respects.

        54.     After identifying their targets Sicinski and/or Elia would go the property and

conduct a more detailed assessment, relying on undocumented, fabricated or exaggerated code

violations to convince the inhabitants to permit them to inspect the perimeter of the property or

enter inside the home. Once inside, Sicinski and/or Elia would go through the property and

identify items of value, taking note of their exact location in and around the house.

        55.     In instances where they were restricted, for whatever reason, to the outside areas

of the property they would survey the inside of the house and its contents through the house’s

windows.

        56.     Sicinski and/or Elia would then communicate the intelligence they gathered to

CLIP clean-up crew members who would return (with or without Sicinski and/or Elia) to the

property shortly thereafter, to seize the items. Seizure was effected based on the flawed rationale

that removal of the items was necessary to remedy the code violations that Sicinski and or Elia

had fabricated in the first place.

        57.     The seized items were then divided amongst the conspirators to be sold for cash

or kept for personal use.

                     The Targets - Excluding Mr. Tengood & 7219 Saul Street

        58.     Sicinski and Elia initially settled upon at least five properties (excluding Mr.

Tengood’s residence) to target as part of their scheme to defraud and steal between February


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         2004 and January 2008: (1) 9021 Convent Avenue, in or about June 2006; (2) 1859 Greymont

         Street, in or about January 2007; (3) 7200 Marsden Street, in or about January 2007; (4) 1358

         Harrison Street, in or about April 2007; and (5) 2911 Boudinot Street, in or about June 2007.

                   59.       Each of the five targets listed in the preceding paragraph were entered into by

         Sicinski, Elia, and or other City employees without the home owner’s permission or without

         legal authority . In each case, Sicinski, Elia, and/or other City employees illegally removed large

         quantities of personal property situated in the homes and converted this property for personal use

         or exploitation through sale. These stolen items included but were not limited to: guns, cash,

         electronics, furniture, antiques & familial effects, power tools, and clothing.1

                   60.       From the time of the 2911 Boudinot Street heist in June 2007 until about

         September 2008, Sicinski and Elia’s scheme was temporarily sidelined due to, among other

         factors, peripheral investigations being carried out by law enforcement officials at both the state

         and federal level. The investigations were prompted by various crimes, including at least one

         homicide, that had occurred independent from the CLIP scheme. Ultimately it was determined

         that at least one of the firearms used in the perpetration of the homicide was in fact one of the

         guns that had been stolen from the target properties set forth in Paragraph 58 above.

                   61.       Eventually, however, scrutiny by law enforcement began to subside and Sicinski

         and Elia again began targeting additional properties to illegally enter into and steal from.

                         The Corruption of Higgins and Targeting Mr. Tengood & 7219 Saul Street

                   62.       On or before September 28, 2008 Sicinski and Elia, having realized they needed

         additional manpower to continue their scheme, and in the hopes of deflecting any future scrutiny


1 A Philadelphia Grand Jury later described the scheme accordingly: “[u]nder Sicinski’s supervision CLIP teams did not merely clean up
  yards and exteriors and seal vacant buildings; they performed wholesale clear-outs of houses, in some cases emptying out owner-
  occupied residences without the owner’s consent.” Presentment at 7, In Re County Investigating Grand Jury XXIII, No. 000901-2008
  (Ct. Com. Pl. Phila. County Dec. 15, 2009).


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by law enforcement away from themselves, recruited Higgins to assist in the furtherance of the

conspiracy. Higgins agreed to participate.

       63.     Towards the latter part of September 2008 Higgins preliminarily identified 7219

Saul Street and Mr. Tengood as an appropriate target for the scheme. He determined that Mr.

Tengood and, at the time, Mr. Tengood’s mother Ruth Z. Tengood (who was then still residing at

the Saul Street house) fit the requisite profile: (1) elderly (Mr. Tengood was 59 at the time and

his mother was 96); (2) ideally located (7219 Saul Street is located minutes from CLIP

headquarters and at the center of the ring of properties that had been targeted previously); and (3)

well stocked in terms of the quantity of items in the house.

       64.     Higgins was able to determine that Mr. Tengood had a substantial number of

items in his home after taking photographs of the inside of the the property through the mail slot

of the front door. In order to take these pictures Higgins approached the front of the house and

entered the premises by opening the mail slot and placing a City owned camera and parts of his

person inside the structure. These pictures were taken without Mr. Tengood’s consent and

without a warrant.

       65.     On at least one other occasion Higgins attempted to compile a more detailed

inventory of the interior contents of Mr. Tengood’s house by breaking into the garage situated at

the rear of the property.

       66.     Higgins later admitted to taking the photographs and the attempted breaking and

entering of Mr. Tengood’s garage at an L&I review hearing that took place on or about February

2009. Mr. Tengood reserves the right here to supplement the allegations in this Complaint by

way of attachment of a true and correct copy of the notes of testimony from said hearing, if and

when they become available.


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        67.    Having determined that Mr. Tengood and his home were a prime target, but

realizing that the brashness of their earlier exploits was no longer feasible, Sicinski and Elia

resolved to establish an increased appearance of legitimacy with respect to their exploit of 7219

Saul Street and Mr. Tengood.

        68.    Together with Higgins they began issuing notices of violation to Mr. Tengood for

failure to comply with the Philadelphia Property Maintenance Code (hereinafter as, the “Code”),

as opposed to simply arriving at the house without warning as had been done with the

predecessor targets. The notices were sent with the specific intent of intimidating Mr. Tengood

and coercing him to permit the Defendant Inspectors to enter his house. It was their further

intention to identify and steal Mr. Tengood’s property once they had gained access to the house.

        69.    On or about September 28, 2008, by way of United States Mail, the City served

its first official notice to Mr. Tengood, stating that the conditions of his property where in

violation of the Code and that he had ten days to abate the conditions or face the imposition of

fines and/or possible imprisonment. This notice was served at the special insistence of one or all

of the Defendant Inspectors. A true and correct copy of the notice is incorporated herein and

attached hereto as Exhibit “D”.

        70.    The notice cited three specific violations of the Code for the exterior of the house

and garage allegedly being overgrown with weeds and plants in excess of ten inches; the rear

garage door needing to be replaced or repaired and; the accumulation of rubbish and/or garbage

at the rear of the property. The notice also cited violations of the Code existing inside the

property despite Mr. Tengood’s never having granted permission to Defendants to enter his

home.




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       71.     At least three additional notices of violation were then issued to Mr. Tengood by

Defendants during the Relevant Times, all of which were based on the same or similar grounds

as those set forth in the preceding paragraph, including: (1) notice served on or about August 24,

2009; (2) notice served on or about February 23, 2011; and (3) notice served on or about March

30, 2011. True and correct copies of said notices are incorporated herein and attached hereto as

Exhibits “E,” “F,” and “G” respectively.

       72.     On the contrary, however, throughout the forty four (44) years that Mr. Tengood

has lived at 7219 Saul Street there have been no recorded incidents of fire, infestation of rodents

or vermin, or the occurrence of major health and safety issues the likes of which Defendant

Inspectors claimed were at stake at the property.

       73.     Despite the actual, non-offending conditions of Mr. Tengood’s property, pursuant

to the notices of violations and, according to Defendants, his failure to timely abate such

violations, Defendants entered onto/into his property, on at least two occasions, unannounced

and without warning and seized a quantity of items kept in the rear yard of the house.

       74.     The foregoing scheme, and each act committed in furtherance thereof, constitutes

mail fraud and conspiracy to commit mail fraud within the meaning of 18 U.S.C. §1341 and

§1349 respectively, in that:

               (a)     Defendants Sicinski, Elia, and Higgins, knowing that the conditions of Mr.

                       Tengood’s property were not in violation of the Code, intended to and did,

                       devise, record, issue, manufacture, or otherwise produce artificial or

                       grossly exaggerated accounts of said conditions, in the form of an official

                       City of Philadelphia Notice of Violation; all for the specific purpose, and

                       with the specific intent, of inducing Mr. Tengood’s reliance on the validity


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                         of said notices in order to illegitimately secure his permission for entry

                         into his home, so that Defendants could then steal money or property from

                         him.

                (b)      Defendants Sicinski, Elia, and Higgins caused the aforementioned Notices

                         of Violations to be served on Mr. Tengood, by the transport, transmission,

                         and transfer, and attempted transport, transmission, and transfer of each

                         through placement in authorized channels for sending and receiving mail

                         by the United States Postal Service, for the purpose of executing or

                         attempting to execute Defendants’ scheme.

        75.     The foregoing scheme and each act committed in furtherance thereof constitutes

interference with commerce by threats or violence within the meaning of 18 U.S.C. § 1951 and

theft by unlawful taking or disposition of property in violation of 18 Pa. C.S. § 3921,

respectively, in that:

                (a)      Defendants Sicinski, Elia, and Higgins did attempt to commit robbery by

                         conspiring, plotting, or otherwise devising to obtain certain items of Mr.

                         Tengood’s personal property, without privilege or legal authority, and with

                         the specific intent to do so, and by communicating threats of continued

                         and or intensified prosecution against him, by the City of Philadelphia,

                         including fines and possible imprisonment.

                (b)      Defendants Sicinski, Elia, and Higgins did commit robbery by facilitating

                         the taking of items of personal property from Mr. Tengood, and with the

                         specific intent to do so, without privilege or legal authority, after CLIP




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                       crew members forcibly entered onto his private property and removed

                       certain of his possessions situated thereon.

               (c)     Defendants Sicinski, Elia, and Higgins did commit extortion by attempting

                       to acquire consent from Mr. Tengood to enter his home, in exchange for

                       the Defendants suspending future code enforcement efforts against him,

                       with the ultimate goal of unlawfully taking his personal property once

                       inside, all with the specific intent to do so.

               (d)     All such items of property described herein were bought or sold, obtained,

                       or otherwise acquired through the stream and in the ordinary course of

                       commerce existing both within the Commonwealth of Pennsylvania and

                       between it and the several other states of America.

       76.     The foregoing scheme and each act committed in furtherance thereof constitutes

theft by deception within the meaning of 18 Pa. C.S. § 3922 in that:

               (a)     Defendants Sicinski, Elia, and Higgins created the false impression that

                       they possessed the lawful authority to enter into Mr. Tengood’s home or

                       onto his property, with the specific intent to create such false impression,

                       in order to then steal his personal property.

       77.     The foregoing scheme and each act committed in furtherance thereof constitutes

theft by extortion in violation of Pa. C.S. § 3923 in that:

               (a)     Defendants Sicinski, Elia, and Higgins acquired Mr. Tengood’s personal

                       property or otherwise attempted to withhold his personal property, with

                       the specific intent to do so.




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               (b)      Defendants Sicinski, Elia, and Higgins did take action by serving

                        additional notices of code violations against Mr. Tengood, in their official

                        capacities, and or promise to withhold from taking additional enforcement

                        action, in their official capacities, in exchange for Mr. Tengood’s consent

                        to permit entry to his home so that Defendants could then steal his

                        personal property, all with the specific intent to do so.

                     Mr. Tengood is Forced to Move his Mother from the House

       78.     At some point during the course of Defendants’ initial press to get into 7219 Saul

Street, Mr. Tengood was forced to place his mother in an assisted living facility. In addition to

being 96 years old at the outset of the scheme, Mrs. Tengood is also a survivor of the Holocaust.

She was, therefore, particularly sensitive to the actions taken by Defendants. She became

increasingly disturbed and threatened by the continual presence of City officials serving

additional notices and bills, and removing items from the exterior of the premises. The stress of

the Defendants’ on site harassments and intimidation tactics became too much for her to bear.

Both her physical and mental health began to deteriorate and it was thus necessary to displace

her from her home of nearly 50 years.

       79.     Mr. Tengood was extremely distraught and suffered measurable emotional distress

over the forced displacement of his mother as the two are very close.

                                     Mr. Tengood Fights Back

       80.     Unlike the previous victims of the conspiracy, Mr. Tengood stood up to the

Defendants’ affront. He appealed the Code violations to the Board of L&I Review (hereinafter

as, the “Board”) on or about October 30, 2008 on the grounds that his garage door was not




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broken or in need of repair, that the shrubbery around the property was not overgrown and that

there was not an accumulation of trash or debris as accused by the City.

       81.     At that point Defendants Inspectors’ attempt to gain entry to the house had been

frustrated, at least temporarily, by Mr. Tengood’s resolve. Angered by his obstinacy but intent on

moving forward with the scheme Defendant Inspectors subsequently decided to co-opt the

support of the City Solicitor to overcome the obstacle presented by Mr. Tengood’s appeal.


   C. THE MALICIOUS PROSECUTION SCHEME:

                               The Corruption of the City Solicitor

       82.     The City by and through the City Solicitor, at the insistence of and in concert with

CLIP and the Defendant Inspectors, initiated its intentional participation in the furtherance of the

conspiracy to defraud Mr. Tengood by appearing before the Board at his appeal hearing in

February 2009.

                                The Administrative Review Phase

       83.       At that hearing the City Solicitor willfully supported Defendant Inspectors

underlying plan to rob Mr. Tengood by requesting an order to permit L&I and/or CLIP to

complete an inspection of both the interior of his home and his garage. The order was granted by

the Board.

       84.     Mr. Tengood was subsequently instructed to call Higgins and/or L & I to schedule

a time and date for the inspection but he never did.

       85.     Thereafter, Higgins, at the insistence of the City Solicitor and with the assistance

of Sicinski and Elia, attempted to push forward by taking the initiative and contacting Mr.

Tengood on at least one occasion via telephone to schedule and execute the inspection of his



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home. Again Mr. Tengood made himself unavailable and otherwise refused to cooperate still

suspicious of the Defendants’ motives and the integrity of their presumed authority.

       86.     The City Solicitor parried Mr. Tengood’s refusal by securing a second review

hearing before the Board which took place on or about July 14, 2009, to readdress the issue of

entrance into Mr. Tengood’s house. The second hearing was retaliatory tactic to punish Mr.

Tengood for his refusal to submit to Defendants’ scheme and his persistence with the Appeal.

The second hearing also represented an additional display of force by Defendants with the intent

to intimidate Mr. Tengood and thwart his resistance.

       87.     Undeterred, Mr. Tengood appeared and presented photographs at the second

Board hearing that depicted the front and rear of 7219 Saul Street in a well maintained state, with

no accumulation of rubbish or overgrowth of plants. The photos also demonstrated that the

garage was not broken and was in working order.

       88.     Mr. Tengood also testified before the Board that the garage door as depicted in the

photographs he presented was in the same unadulterated condition that it had always been in.

       89.     Additionally, he reiterated the fact that he had not given consent for CLIP and the

City to search his property, that probable cause was lacking to justify any such inspection, and

that the City’s actions were an unlawful intrusion into his privacy. A true and correct copy of the

Notes of Testimony from the hearing are incorporated herein and attached hereto as Exhibit “H”.

       90.     Defendants, on the other hand, presented no documentary evidence of the alleged

violations existing inside the house referred to in the September 28, 2008 notice. They did,

however, present the pictures of the inside of Mr. Tengood’s garage that Higgins had illegally

procured when he broke in to the structure. According to Mr. Tengood the only way that Higgins




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            could have taken pictures of the interior of the garage is if he opened the garage door and/or

            made his way inside the structure because the garage was always kept closed. Id. at 12.

                      91.       On or about this time, the City Solicitor also expressed her view that Mr. Tengood

            is an obsessive compulsive “hoarder,” and was therefore amassing unhealthy/unsafe quantities

            of personal property within the house.2 According to the City Solicitor this alleged quantity of

            personal property sufficed as probable cause for the City to enter Mr. Tengood’s house and make

            an inspection of the premises. However, no medical or other expert diagnoses, testimony, or

            evidence of any kind was presented by Defendants, at any point throughout the entirety of the

            litigation, to support their proposition that Mr. Tengood was an obsessive compulsive “hoarder.”

                      92.       Notwithstanding the City’s apparent lack of evidence, and dismissive of Mr.

            Tengood’s privacy concerns, the Board affirmed Defendants’ contention that Code violations

            existed at the subject premises and voted in support of the grant of a court order to inspect the

            interior of the house and the garage.

                                                           The Civil Litigation Phase

                      93.       On or about August 2, 2009, under the advice of counsel, Mr. Tengood filed an

            appeal of the Board’s decision in the Philadelphia Court of Common Pleas. His appeal argued

            that the City’s insistence in gaining entry to his home violated his Constitutional right of privacy

            and was inconsistent with the letter and spirit of the 4th Amendment. A true and correct copy of


2   “The essential features of Obsessive Compulsive Disorder are recurrent obsession or compulsions that are sever enough to be time
     consuming (i.e. they take more than 1 hour a day) or cause marked distress or significant impairment...[b]y definition, adults with
     Obsessive-Compulsive Disorder have at some point recognized that the obsessions or compulsions are excessive or unreasonable...
     [h]owever...there is a broad range of insight into the reasonableness of the obsessions or compulsions. Some individuals are uncertain
     about the reasonableness of their obsessions or compulsions, and any given individual’s insight may vary across times and situations...
     [a]t those times when the individual recognizes that the obsessions and compulsions are unreasonable, he or she may desire or attempt to
     resist them. When attempting to resist a compulsion, the individual may have a sense of mounting anxiety or tension that is often
     relieved by yielding to the compulsions, the individual may give in to them, no longer experience a desire to resist them, and may
     incorporate the compulsion into his or her daily routines.” Am. Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental
     Disorders, Text Revision (4th ed. 2000). See also, Diagnostic Criteria for Obsessive Compulsive Disorder and Proposed Amendments to
     be included in DSM-V, incorporated herewith and attached hereto as Appendix I.


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(Ct. Com. Pl. Phila. County Jan. 4, 2010), is incorporated herein and attached hereto as Exhibit

“I”.

        94.   The appeal also challenged the factual sufficiency and legal integrity of the City’s

evidence regarding the existence of Code violations inside his home and the extent to which the

Board’s decision and the Defendants’ dogged pursuit of a “lawful” means of entering his home

were in retaliation to Mr. Tengood’s committed refusal to submit to Defendants’ scheme.

        95.    At the same time Mr. Tengood’s appeal was pending, on or about September 2,

2009, the City filed a parallel suit in the Court of Common Pleas, at the behest of the City

Solicitor. A true and correct copy of Docket No. 090804079 from Philadelphia v. Tengood et al.,

No. 090804079 (Ct. Com. Pl. Phila. County Sept. 2, 2009), is incorporated herein and attached

hereto as Exhibit “J”.

        96.   The City’s Complaint sought equitable relief, including, among other things, a

permanent injunction requiring Mr. Tengood to “take whatever action necessary to correct all

violations of the Philadelphia Code at 7219 Saul Street...and if necessary vacate the premises.”

The City Complaint also sought to have the subject premises inspected by L&I both inside and

out and threatened Mr. Tengood with being forcibly removed from his house and/or the

imposition of fines of $300.00/day during any period of his continued non-compliance.

        97.   After the filing of several pleadings by all parties and following oral argument

Judge Peter F. Rogers entered an order requiring Mr. Tengood to submit to a full and complete

inspection of the interior of his home by L&I, scheduled to take place on February 23, 2009 at

10AM.




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       98.     The order stated that “[Mr. Tengood] or otherwise responsible parties of the

subject premises shall permit and provide access to the Department...if [Mr. Tengood] or anyone

acting on [his] behalf, impede or refuse entry, the Department, with the assistance of the Sheriff’s

Office of Philadelphia County, and if asked, the Philadelphia Police Department shall use

whatever reasonable force is necessary to gain entry into said premises for the purpose of

conducting an inspection.” (emphasis added).          A true and correct copy of the Order is

incorporated herein and attached hereto as Exhibit “K”.

       99.     Judge Rogers’ order was entered despite the fact that Mr. Tengood had two sets of

preliminary objections pending before the court, challenging the validity of the City’s Complaint,

on which no rulings had been issued.

       100.    Judge Rogers was removed from the case following the November 20th ruling for

reasons as yet known; nor is it known whether Judge Rogers was complicit in the Defendant’s

scheme.

       101.    Regardless of the issue of Judge Rogers’ complicity, his order at last provided

Defendants with a purportedly “lawful” means of entering 7219 Saul Street in order to carryout

the objects of their conspiracy.

                    Defendants’ Scheme is Discovered and Finally Unravels

       102.    Approximately one month following Judge Rogers’ order in City of Philadelphia

v. Tengood et al., on or about December 19, 2009, a Grand Jury empaneled before the

Philadelphia Court of Common Pleas, made a formal presentment to the Honorable Renee

Cardwell Huges, following its investigation of illegal firearms and the activities of gun traffickers

operating in the City of Philadelphia.




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       103.     The Grand Jury concluded that probable cause existed to believe that members of

CLIP had engaged in a criminal conspiracy to steal firearms, ammunition, money, jewelry,

furniture, tools, clothing, and other items from the homes that it was supposed to be remedying

of code violations.

       104.     The Presentment detailed findings of egregious abuses of authority by the City

and CLIP and recommended that nine CLIP employees, including Siciniski, be charged with

multiple felonies including perjury and corrupt organization under 18 Pa. C.S. § 911 et. seq.

       105.     Sincinski and the other indictees ultimately plead guilty to all charges on or about

September 2011.

       106.     The Grand Jury also noted a complete lack of executive oversight of CLIP and

specifically identified Deputy Managing Director Thomas Conway as having utterly failed to

execute his managerial responsibilities.

              The Remaining Conspirators Scramble to Cover-Up their Involvement

       107.     Realizing the danger they faced following the indictment of Sicinski, the City

Solicitor, Higgins, and Elia immediately set to covering up their participation in the scheme to

foreclose the possibility of their own criminal prosecutions being sought by the Philadelphia

District Attorney.

       108.     To begin with, Higgins and Elia did not follow through with the inspection of

7219 Saul Street as originally planned. Meanwhile, the City Solicitor arranged for a continuance

of the hearing that was stipulated in Judge Rogers’ November 20th order for the purpose of

assessing the outcome of the inspection.

       109.     The post-inspection hearing was thus continued until January 20, 2010.




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        110.   At the January 20th hearing the City Solicitor abandoned her earlier position that

the City had an unequivocal right, under the circumstances, to enter Mr. Tengood’s residence

based on his alleged hoarding problem and the non-compliant exterior conditions of his property.

In particular, she stated “that the issue of probable cause for conducting the inspection may now

not be in the City’s favor[.]” A true and correct copy of the Notes of Testimony from the January

20, 2011 hearing are incorporated herein and attached hereto as Exhibit “L”

        111.   The court subsequently tempered Judge Rogers’ initial inspection order, revising

it to only permit an inspection of the exterior of 7219 Saul Street. The results of the exterior

inspection would then be relied upon to determine whether probable cause existed to warrant an

inspection of the interior of the property.

                                 The City’s Equity Suit is Disposed

        112.   Whether or not the City ever conducted the limited exterior inspection remains

unclear. The equity hearing that followed the proposed date of the exterior inspection was

nevertheless disposed of in Mr. Tengood’s favor on February 9, 2010; the truth having surfaced,

that probable cause did not exist sufficient to lawfully permit the City to enter Mr. Tengood’s

home. The court’s previous inspection order was subsequently revised and the decision taken

thereon was vacated. A true and correct copy of the final order is incorporated herein and

attached hereto as Exhibit “M”.

        113.   A final disposition of the case in Mr. Tengood’s was then ordered on March 22,

2010.

                              Mr. Tengood’s L&I Appeal is Affirmed

        114.   Similarly, Mr. Tengood’s appeal of the original September 28, 2008 violation

issued by Defendant Inspectors was decided in his favor. Judge Idee Fox ordered the appeal


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withdrawn and settled on or about March 12, 2010. The alleged Code violations were quashed

and the remediation fees assessed against Mr. Tengood by the City were expunged. A true and

correct copy of the final order is incorporated herein and attached hereto as Exhibit “N”.



   D. DAMAGES AND THE AFTERMATH OF THE SCHEME:

       115.    By the time Mr. Tengood’s cases were decided in his favor he had spent nearly

two years battling the City in court, and had paid upwards of $25,000 in legal fees and expenses

in presenting his defense(s).

       116.    Mr. Tengood also suffered (and continues to suffer) psychological trauma from

Defendants’ aggressive and illegitmate campaign, both in and out of court, to enter into his home

and/or take his possessions. As mentioned above, his emotional distress was exacerbated by the

mental and physical toll the ordeal had exacted on his mother. He sought out and received

counseling at his own expense to help alleviate this trauma at a local psychotherapy practice -

Counseling & Therapy Associates.

       117.    Notwithstanding Mr. Tengood’s hard fought victories in Court and the CLIP

conspiracy having apparently been foiled by the District Attorney’s diligence, the program

remains a part of the City’s municipal services core.

       118.    Managerial oversight of CLIP remains deficient as does the implementation of the

program’s authorized policies and procedures. There are no clear standards for the determination

of circumstances which do in fact justify CLIP intervention, record keeping and reporting of

supposed violations is disorganized and incomplete, and CLIP inspectors continue to abuse or

inappropriately exercise the limited regulatory capacity with which they are vested.




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       119.    As recent as March 30, 2011 Mr. Tengood received a notice of violation via USPS

from CLIP officials. See Exhibit “G”. Then, on June 13, 2011, a CLIP clean up crew again

entered into Mr. Tengood’s back yard, unannounced and without a warrant, and removed a

quantity of items situated therein. These items included materials which Mr. Tengood had set

aside for recycling, at least one article of clothing, and several boxes of non-perishable food

items that were sealed in factory packaging and only temporarily left in the driveway while Mr.

Tengood moved the items from his car into his house.

       120.    Mr. Tengood received a subsequent bill from the City for $123.82 for clean-up

and removal of the aforementioned items. A true and correct copy of the bill is incorporated

herein and attached hereto as “Exhibit O”.

       121.    The foregoing scheme, and each act committed in furtherance thereof, constitutes

a retaliation against a witness or victim for attendance at an official proceeding by damaging that

person’s tangible property, within the meaning of 18 U.S.C. § 1513(b), in that:

               (a)    Defendants responded to Mr. Tengood’s various appearances before

                      administrative review boards and the Philadelphia Court of Common

                      Pleas, in opposition to the forcible entry of his home, and the unlawful

                      taking of his property, by serving additional notices of violations, with the

                      specific intent of doing so.

               (b)    Defendants responded to Mr. Tengood’s various appearances before

                      administrative review boards and the Philadelphia Court of Common

                      Pleas, in opposition to the forcible entry of his home, and the unlawful

                      taking of his property by persisting with meritless prosecutions of

                      fabricated code violations against him, with the specific intent of doing so.


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                                   III. CLAIMS FOR RELIEF

   A. COUNT ONE - VIOLATION OF 18 U.S.C. § 1962(b):

                (DEFENDANTS CITY AND ALL OTHERS IN THEIR OFFICIAL CAPACITIES)

       122.    Mr. Tengood realleges and incorporates by reference the allegations contained in

the preceding paragraphs as if fully set forth herein.

       123.    At all Relevant Times the City was an individual and/or person acting through its

officials and agents, including but not limited to, Defendants Conway, Sicinski, Elia, Higgins, the

City Solicitor, and other wrong doers.

       124.    At all Relevant Times, the City, CLIP, Conway, Sicinski, Elia, Higgins, the City

Solicitor, and other wrongdoers were an enterprise as defined in 18 U.S.C. §1961 and were

engaged in and their activities affected interstate commerce. Such enterprise furnished a vehicle

for the commission of a pattern of racketeering activity.

       125.    Specifically, Defendants participated in the conduct of the affairs of the CLIP

scheme (the “Enterprise”), through a pattern of racketeering activities, having committed two or

more racketeering acts -- which constitute violations of, to wit: 18 U.S.C. § 1341 (the federal

mail fraud statute); 18 U.S.C. § 1951 (the federal obstruction, by extortion, of goods moving in

commerce statute); 18 U.S.C. § 1513 (the federal retaliation against a witness or victim for

attendance at an official proceeding statute); 18 Pa. C.S. § 3921 (Pennsylvania’s theft by

unlawful taking or disposition of property statute); 18 Pa. C.S. § 3922 (Pennsylvania’s theft by

deception statute); and 18 Pa. C.S. § 3923 (Pennsylvania’s theft by extortion statute) -- on behalf

of the conspiracy.




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       126.     Conway, Sicinski, Elia, Higgins, and the City Solicitor’s violation of §1962(b)

was related to, and enabled by their employment with the City; was committed in furtherance of

the business and official policy of the City; and was authorized and acquiesced in by the City.

The City subsequently acquired and maintained and interest in the Enterprise as a result of

Conway, Sicinski, Elia, Higgins, and the City Solicitor’s violation of §1962(b) . The City is thus

liable as a principle for violating § 1962(b), based on the aggregate intent and actions taken by

Sicinski, Elia, and Higgins, and more particularly based on the intent manifested and actions

taken by its executive level employees, namely Conway and the City Solicitor, responsible for its

control and direction. What is more, the individual Defendants represented themselves as

contributing to the implementation of official City policy, enacted by City Council and effected

by the Mayor, as part of the Neighborhood Transformation Initiative.

       127.    Mr. Tengood has been injured in his person, business, and or property, to an extent

and in an amount to be proven at trial, as a direct and proximate result of the foregoing violation

of 18 U.S.C. § 1962(b).

       128.    As a direct and proximate result of the acts of Defendants, Mr. Tengood suffered

lost time and earnings, severe mental and emotional anguish, and the permanent loss of valuable

personal property.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally, against Defendants City and Conway, Sicinski, Elia, Higgins, and the City

Solicitor, in their official capacities pursuant to 18 U.S.C. § 1964 for treble damages, interest,

attorney’s fees, the cost of this action, and such other and further relief as this Court shall deem

just and appropriate.




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   B. COUNT TWO - VIOLATION OF 18 U.S.C. § 1962(d):

                (DEFENDANTS CITY AND ALL OTHERS IN THEIR OFFICIAL CAPACITIES)

       129.    Mr. Tengood realleges and incorporates by reference the allegations contained in

the preceding paragraphs as if fully set forth herein.

       130.    During the Relevant Times the City was an individual and/or person acting

through its officials, employees and agents, including but not limited to, Defendants Conway,

Sicinski, Elia, Higgins, the City Solicitor, and other wrong doers.

       131.    At all Relevant Times, the City, CLIP, and Conway, Sicinski, Elia, Higgins, the

City Solicitor, and other wrongdoers were an enterprise as defined in 18 U.S.C. §1961 and were

engaged in, and their activities affected, interstate commerce.       Such enterprise furnished a

vehicle for the commission of a pattern of racketeering activity.

       132.    Defendants City, Conway, Sicinski, Elia, Higgins, the City Solicitor and other

wrongdoers conspired, confederated, and agreed with each other to violate 18 U.S.C. § 1962(b),

in violation of 18 U.S.C. § 1962(d).

       133.    Specifically, Defendants conspired, confederated, and agreed with each other to

conduct and participate in the conduct of the affairs of the CLIP scheme (the “Enterprise”),

through a pattern of racketeering activities, and they agreed that two or more racketeering acts --

which constitute violations of, to wit: 18 U.S.C. § 1341 (the federal mail fraud statute); 18

U.S.C. § 1951 (the federal obstruction, by extortion, of goods moving in commerce statute); 18

U.S.C. § 1513 (the federal retaliation against a witness or victim for attendance at an official

proceeding statute); 18 Pa. C.S. § 3921 (Pennsylvania’s theft by unlawful taking or disposition of

property statute); 18 Pa. C.S. § 3922 (Pennsylvania’s theft by deception statute); and 18 Pa. C.S.




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§ 3923 (Pennsylvania’s theft by extortion statute) -- would be committed on behalf of the

conspiracy.

       134.     Conway, Sicinski, Elia, Higgins, and the City Solicitor’s violation of §1962(d)

was related to, and enabled by their employment with the City; was committed in furtherance of

the business of the City; and was authorized and acquiesced in by the City.               The City

subsequently acquired and maintained an interest in the Enterprise as a result of Conway,

Sicinski, Elia, Higgins, and the City Solicitor’s violation of §1962(d) . The City is thus liable as

a principle for violating § 1962(d), based on the aggregate [specific] intent and actions taken by

Sicinski, Elia, and Higgins, and more particularly based on the [specific] intent manifested and

actions taken by its executive level employees, namely Conway and the City Solicitor,

responsible for its control and direction. What is more, the individual Defendants represented

themselves as contributing to the implementation of official City policy, enacted by City Council

and effected by the Mayor, as part of the Neighborhood Transformation Initiative.

       135.    Mr. Tengood has been injured in his person, business, and or property, to an extent

and in an amount to be proven at trial, as a direct and proximate result of the foregoing violation

of 18 U.S.C. § 1962(d).

       136.    As a direct and proximate result of the acts of Defendants, Mr. Tengood suffered

lost time and earnings, severe mental and emotional anguish, and the permanent loss of valuable

personal property.

               WHEREFORE, Plaintiff Stephen P. Tengood respectfully prays for judgment,

jointly and severally, against Defendants City and Conway, Sicinski, Elia, Higgins, and the City

Solicitor, in their official capacities, pursuant to 18 U.S.C. § 1964, for treble damages, interest,




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attorney’s fees, the cost of this action, and such other and further relief as this Court shall deem

just and appropriate.


   C. COUNT THREE - VIOLATION OF 18 U.S.C. § 1962(c):

                    (DEFENDANTS SICINSKI, ELIA, HIGGINS & THE CITY SOLICITOR
                                IN THEIR INDIVIDUAL CAPACITIES)

       137.    Mr. Tengood realleges and incorporates by reference the allegations contained in

the preceding paragraphs as if fully set forth herein.

       138.    During all Relevant Times, CLIP, together with the individual Defendants

Sicinski, Elia, Higgins, and the City Solicitor were an enterprise as defined in 18 U.S.C. §1961

and were engaged in and their activities affected interstate commerce. Such enterprise furnished

a vehicle for the commission of a pattern of racketeering activity.

       139.    Specifically, Sicinski, Elia, Higgins, and the City Solicitor participated in the

conduct of the affairs of the CLIP scheme (the “Enterprise”), through a pattern of racketeering

activities, having committed two or more racketeering acts which constitute violations of, to wit:

18 U.S.C. § 1341 (the federal mail fraud statute)18 U.S.C. § 1951 (the federal obstruction, by

extortion, of goods moving in commerce statute); 18 U.S.C. § 1513 (the federal retaliation

against a witness or victim for attendance at an official proceeding statute); 18 Pa. C.S. § 3921

(Pennsylvania’s theft by unlawful taking or disposition of property statute); 18 Pa. C.S. § 3922

(Pennsylvania’s theft by deception statute); and 18 Pa. C.S. § 3923 (Pennsylvania’s theft by

extortion statute) -- on behalf of the conspiracy.

       140.     The scheme to defraud Mr. Tengood evolved over time as a pattern of

racketeering activities through the issuance of several fraudulent code violations by CLIP




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inspectors, multiple bills for clean-up services, and at least two instances of the City’s unlawfully

entering onto his private property and seizing his personal possessions.

       141.    The pattern of racketeering acts was further supplemented by the malicious

pursuit of two civil suits against Mr. Tengood, by the City Solicitor, each of which was focused

on threatening and intimidating him in order to get inside his house so that the Defendant

inspectors could steal additional items of his personal property. In each instance, however, the

prosecutions were found to be without factual and/or legal merit and were dismissed in Mr.

Tengood’s favor.

       142.    What is more, the acts directed against Mr. Tengood occurred in addition to those

acts perpetrated by Defendant Inspectors against the other victims of the CLIP scheme, more

particularly described in Paragraphs 58 through 61 above.

       143.    The actions of Defendant Inspectors and the City Solicitor were wanton,

malicious, and oppressive, thus entitling Mr. Tengood to an award of punitive damages.

       144.    Mr. Tengood has been injured in his person, business, and property, to an extent

and in an amount to be proven at trial, as a direct and proximate result of the foregoing violation

of 18 U.S.C. § 1962(c).

       145.    As a direct and proximate result of the acts of Defendants, Mr. Tengood suffered

lost time and earnings, severe mental and emotional anguish, and the permanent loss of valuable

personal property.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Sicinski, Elia, Higgins, and the City Solicitor, in their

individual capacities, pursuant to 18 U.S.C. § 1964 for treble damages, punitive damages,




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interest, attorney’s fees, the cost of this action, and such other and further relief as this Court

shall deem just and appropriate.


   D. COUNT FOUR - VIOLATION OF 18 U.S.C. § 1962(d):

                    (DEFENDANTS SICINSKI, ELIA, HIGGINS & THE CITY SOLICITOR
                                IN THEIR INDIVIDUAL CAPACITIES)

       146.    Mr. Tengood realleges and incorporates by reference the allegations contained in

the preceding paragraphs as if fully set forth herein.

       147.    During all Relevant Times, CLIP, together with the individual Defendants

Sicinski, Elia, Higgins, and the City Solicitor were an enterprise as defined in 18 U.S.C. §1961

and were engaged in and their activities affected interstate commerce. Such enterprise furnished

a vehicle for the commission of a pattern of racketeering activity.

       148.    These individual Defendants conspired, confederated, and agreed with each other

to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

       149.    Specifically Defendants Siciniski, Elia, Higgins, and the City Solicitor conspired,

confederated, and agreed with each other to conduct and participate in the conduct of the affairs

of the CLIP scheme (the “Enterprise”), through a pattern of racketeering activities, and they

agreed that two or more racketeering acts -- which constitute violations of, to wit: 18 U.S.C. §

1341 (the federal mail fraud statute); 18 U.S.C. § 1951 (the federal obstruction, by extortion, of

goods moving in commerce statute); 18 U.S.C. § 1513 (the federal retaliation against a witness

or victim for attendance at an official proceeding statute); 18 Pa. C.S. § 3921 (Pennsylvania’s

theft by unlawful taking or disposition of property statute); 18 Pa. C.S. § 3922 (Pennsylvania’s

theft by deception statute); and 18 Pa. C.S. § 3923 (Pennsylvania’s theft by extortion statute) --

would be committed on behalf of the conspiracy.


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       150.     The actions of Defendant Inspectors and the City Solicitor were wanton,

malicious, and oppressive, thus entitling Mr. Tengood to an award of punitive damages.

       151.    Mr. Tengood has been injured in his person, business, and property, to an extent

and in an amount to be proven at trial, as a direct and proximate result of the foregoing violation

of 18 U.S.C. § 1962(d).

       152.    As a direct and proximate result of the acts of Defendants Mr. Tengood suffered

lost time and earnings, severe mental and emotional anguish, and the permanent loss of valuable

personal property.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Sicinski, Elia, Higgins, and the City Solicitor in their

individual capacities pursuant to § 1964 for treble damages, punitive damages, interest,

attorney’s fees, the cost of this action, and such other and further relief as this Court shall deem

just and appropriate.


   E. COUNT FIVE - VIOLATION OF THE CIVIL RIGHTS ACT §1983:

                        (DEFENDANTS CITY AND CONWAY, SICINSKI, ELIA & HIGGINS
                                    IN THEIR OFFICIAL CAPACITIES)

       153.    Mr. Tengood realleges and incorporates by reference the allegations contained in

the preceding paragraphs as if fully set forth herein.

       154.    During the Relevant Times the City was an individual and/or person acting

through its officials, employees and agents, including but not limited to, Defendants Conway,

Sicinski, Elia, Higgins, and other wrong doers.




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       155.   During the Relevant Times the City and Defendants Conway, Sicinski, Elia, and

Higgins were responsible for the appropriate care, custody, and or control of Mr. Tengood’s

personal property.

       156.   During the Relevant Times the City and Defendants Conway, Sicinski, Elia, and

Higgins were responsible for the appropriate use and implementation of City vehicles in

connection with the care, custody, and or control of Mr. Tengood’s personal property.

       157.   The City Council of Philadelphia is vested by state law, including but not limited

to the Philadelphia Home Rule Charter, with the authority to make policy for the City regarding

the regulation and enforcement of, among others, the Philadelphia Property Maintenance Code.

Moreover, Council and the Mayor are vested with authority to delegate regulation and

enforcement of the Code to various City departments and executive agencies as appropriate,

including but not limited to, the Managing Directors Office, the Department of Licenses &

Inspections, and the Department of Streets.

       158.   As such, during the Relevant Times, Defendants Conway, Sicinski, Elia, and

Higgins acted under the direction and control of the City and under color of the laws, statues,

ordinances, regulations, policies, customs, and usages of the Commonwealth of Pennsylvania,

and the City of Philadelphia, as enacted by Council, including but not limited to, the Department

of Licenses & Inspection’s “Personal Property, Salvage Items, and Equipment Policy” and the

Neighborhood Transformation Initiative.

       159.   Acting under color of law and pursuant to official policy, practice or custom,

Defendant Conway and the City intentionally, knowingly, recklessly, or negligently failed to

instruct supervise, control and discipline, on a continuing basis, Defendants Sicinski, Elia, and

Higgins in their duties to refrain from unlawfully entering upon the private property of Mr.


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Tengood, conducting unlawful searches of the premises, and unlawfully seizing personal

property situated thereon.

       160.     Acting under color of law and pursuant to official policy, practice or custom,

Defendant Sicinski and the City intentionally, knowingly, recklessly, or negligently failed to

instruct supervise, control and discipline, on a continuing basis, Defendants Elia and Higgins in

their duties to refrain from unlawfully entering upon the private property of Mr. Tengood,

conducting unlawful searches of the premises, and unlawfully seizing personal property situated

thereon.

       161.     Defendants Conway and Sicinski and the City had knowledge, or, had they

diligently exercised their duties to instruct, supervise, control, and discipline Defendants Elia and

Higgins on a continuing basis, should have had knowledge that the alleged wrongs were about to

be committed.

       162.     Defendants Conway and Sicinski and the City had power to prevent or aid in

preventing the commission of the aforementioned wrongs, could have done so by reasonable

diligence, and intentionally, knowingly, recklessly, or negligently failed or refused to do so.

       163.     Defendants Conway and Sicinski and the City therefore, directly or indirectly,

under color of law, approved or ratified the unlawful, deliberate, malicious, reckless, negligent or

wanton conduct of Defendants Elia and Higgins.

       164.     Defendant Conway and the City also therefore, directly or indirectly, under color

of law, approved or ratified the unlawful, deliberate, malicious, reckless, negligent or wanton

conduct of Defendants Sicinski, Elia, and Higgins.

       165.     As a direct and proximate result of Defendants Conway, Sicinski, Elia, Higgins

and the City’s acts, Mr. Tengood was deprived of his right to be free from unlawful searches and


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seizures in violation of the Fourth and Fourteenth Amendments to the United States Constitution

and protected by 42 U.S.C. § 1983.

        166.    Mr. Tengood has been injured in his person, business, and property, to an extent

and in an amount to be proven at trial, as a direct and proximate result of the foregoing violations

of the Constitution and 42 U.S.C. § 1983.

        167.    As a direct and proximate result of the acts of Defendants Conway, Sicinski, Elia,

Higgins and the City Mr. Tengood suffered lost time and earnings, severe mental and emotional

anguish, and the permanent loss of valuable personal property.

                WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Conway, Sicinski, Elia, Higgins, and the City for

compensatory damages, interest, attorney’s fees, the cost of this action, and such other and

further relief as this Court shall deem just and appropriate.


    F. COUNT SIX - VIOLATION OF THE CIVIL RIGHTS ACT § 1983:

               (DEFENDANTS CITY AND THE CITY SOLICITOR IN HER OFFICIAL CAPACITY )

        168.    Mr. Tengood realleges and incorporates by reference the allegations contained in

the preceding paragraphs as if fully set forth herein.

        169.    During the Relevant Times the City was an individual and or person acting

through its officials, employees and agents, including but not limited to, Defendant City

Solicitor.

        170.    The City Council of Philadelphia is vested by state law, including but not limited

to the Philadelphia Home Rule Charter, with the authority to make policy for the City regarding

the regulation and enforcement of, among others, the Philadelphia Property Maintenance Code.

Moreover, Council and the Mayor are vested with authority to delegate regulation and

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enforcement of the Code to various City departments and executive agencies as appropriate,

including but not limited to the City Solicitors’ Office.

       171.    As such, during the Relevant Times, Defendant City Solicitor acted under the

direction and control of the City and under color of the laws, statues, ordinances, regulations,

policies, customs, and usages of the Commonwealth of Pennsylvania, and the City of

Philadelphia, as enacted by Council, in prosecuting two civil suits against Mr. Tengood for

meritless violations of the Code and for the procurement of a search warrant without probable

cause and or in bad faith.

       172.    Acting under color of law and pursuant to official policy, practice or custom, the

City Solicitors’ Office and the City intentionally, knowingly, recklessly, or negligently failed to

instruct supervise, control and discipline, on a continuing basis, Defendant City Solicitor in her

duties to refrain from pursuing unfounded civil prosecutions and for advocating for a court

ordered search of Mr. Tengood’s home without probable cause and or in bad faith.

       173.    The City Solicitors’ Office and the City had knowledge, or, had they diligently

exercised their duties to instruct, supervise, control, and discipline Defendant City Solicitor on a

continuing basis, should have had knowledge that the wrongs that were done, as alleged

throughout this Complaint, were about to be committed.

       174.    The City Solicitors’ Office and the City, directly or indirectly, under color of law,

approved or ratified the unlawful, deliberate, malicious, reckless, wanton, or negligent conduct of

Defendant City Solicitor.

       175.    As a result of the City’s acts as alleged in Paragraphs 82 through 101 above, Mr.

Tengood was deprived of his right to be free from unlawful searches and seizures in violation of




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the Fourth and Fourteenth Amendments to the United States Constitution and protected by 42

U.S.C. § 1983.

       176.      As a direct and proximate result of the acts of Defendant City Solicitor and the

City, and the deprivation of rights caused therefrom, Mr. Tengood suffered lost time and

earnings, severe mental and emotional anguish, and the loss of personal property.

                 WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Conway, Sicinski, Elia, Higgins, and the City for

compensatory damages, interest, attorney’s fees, the cost of this action, and such other and

further relief as this Court shall deem just and appropriate.


   G. COUNT SEVEN - VIOLATION OF THE CIVIL RIGHTS ACT § 1983:

              (DEFENDANTS CONWAY, SICINSKI, ELIA, HIGGINS, & THE CITY SOLICITOR
                             IN THEIR INDIVIDUAL CAPACITIES)

       177.      Mr. Tengood realleges and incorporates by reference the allegations contained in

each and every preceding paragraph as if fully set forth herein.

       178.      Defendants Conway, Sicinski, Elia, Higgins, and the City Solicitors’ conduct was

undertaken individually or in concert with one another during the Relevant Times.

       179.      Defendants Sicinski, Higgins, Elia and the City Solicitor used their status as

employees of the City, and by representing themselves as acting under color of law, to issue and

enforce fraudulent or otherwise unjustified violations of Philadelphia’s Property Maintenance

Code as part of their scheme to defraud Mr. Tengood. These violations were served together

with unjustified bills for municipal services deemed necessary to remedy the violations.

Pursuant to the presumed legal authority stemming from these violations Sicinski, Elia, and




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Higgins attempted to and did enter onto Mr. Tengood’s property, and into his house, in addition

to seizing or facilitating the seizure of his personal property situated thereon.

       180.    The ultimate purpose of these actions was to further intimidate Mr. Tengood in

order to gain entry to his home in order to extort money and additional items of personal

property from him, in the same manner as the other six homes targeted before his, as more

particularly described in Paragraphs 58 through 61 above.

       181.    Likewise, Defendant City Solicitor pursued two meritless civil prosecutions,

advocating in each case for court ordered search warrants, without probable cause and or in bad

faith. It was the City Solicitor’s intention to procure Defendant Inspectors with a seemingly

lawful means of entry into Mr. Tengood’s home, in order to execute the scheme set forth above.

       182.    Defendant Conway acquiesced in the conduct undertaken by the other individual

Defendants by intentionally, willfully, recklessly, knowingly, or negligently failing to discover,

discipline or otherwise prohibit such conduct.

       183.    What is more, the Defendants’ actions were wanton, malicious, and oppressive,

thus entitling Mr. Tengood to an award of punitive damages.

       184.    As a result of Defendants’ actions, Mr. Tengood was deprived of his right to be

free from unlawful searches and seizures in violation of the Fourth and Fourteenth Amendments

to the United States Constitution and protected by 42 U.S.C. § 1983.

       185.    As a direct and proximate result of the Defendants’ acts, and the deprivation of

rights caused therefrom, Mr. Tengood suffered lost time and earnings, severe mental and

emotional anguish, and the loss of personal property.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Conway, Sicinski, Elia, Higgins, and the City Solicitor


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for compensatory damages, punitive damages, interest, attorney’s fees, the cost of this action,

and such other and further relief as this Court shall deem just and appropriate.


   H. COUNT EIGHT - IN THE ALTERNATIVE, VIOLATION OF THE AMERICANS WITH
      DISABILITY ACT § 12132:

              (DEFENDANTS CITY AND THE CITY SOLICITOR IN HER OFFICIAL CAPACITY)

       186.    Mr. Tengood realleges and incorporates by reference the allegations contained in

each and every preceding paragraph as if fully set forth herein.

       187.    CLIP was conceived of and ratified by City Council and ultimately facilitated

with the use of Federal funds that were allocated to the program as part of the Neighborhood

Transformation Initiative.

       188.    During the Relevant Times, CLIP was/is a “program or activity” as defined in 42

U.S.C. § 2000d-4a.

       189.    CLIP was implemented and enforced by the City’s agents, employees, contractors,

and others, including but not limited to, the City Solicitor during the Relevant Times.

       190.    CLIP was/is intended to positively benefit the health and general welfare of

Philadelphia residents, including but not limited to, Mr. Tengood.

       191.    The City Solicitor expressed and or manifested a belief, either explicitly or

implicitly, that Mr. Tengood was a qualified individual with a disability as defined in 42 U.S.C. §

12131(2) - as one who suffers from obsessive compulsive disorder (hoarding type) - during the

Relevant Times. See also Appendix I.

       192.    The City Solicitor expressed and/or manifested a belief, either explicitly or

implicitly, that the fact of Mr. Tengood’s disability gave the City the unilateral right to take his




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personal property and force entry into his home without regard for his disability or his legal

rights.

          193.   In the alternative therefore, during the Relevant Times, Defendant City Solicitor,

acting under color of law and pursuant to official policy, practice or custom, intentionally,

knowingly, recklessly, maliciously, or negligently discriminated against Mr. Tengood in her

administration of CLIP, by specifically targeting him for aggressive enforcement of the Code in

violation of 42 U.S.C. § 12132.

          194.   The violation of § 12132 was related to and committed within the course of the

City Solicitor’s employment with the City; was committed in furtherance of the business of the

City; and was authorized and acquiesced in by the City. In addition, the City was the intended

beneficiary of the City Solicitor’s violative conduct in the form of ill gotten penalties and fees

from Mr. Tengood.       Thus, the City is liable for violating § 12132 under the doctrine of

respondeat superior.

          195.   The City Solicitor’s violation of § 12132 was related to and committed within the

course of her status as an agent of the City; was committed in furtherance of the business of the

City and official government policy; and was authorized and acquiesced in by the City. In

addition, the City was the intended beneficiary of the City Solicitor’s violative conduct in the

form of ill gotten penalties and fees from Mr. Tengood. Thus, in the alternative, the City is liable

for the violation as the principle party based on the conduct of the City Solicitor, its agent.

          196.   Mr. Tengood has been injured in his person, business, and property, to an extent

and in an amount to be proven at trial, as a direct and proximate result of the foregoing violation

of 42 U.S.C. § 12132.




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       197.    As a direct and proximate result of the acts of Defendants City and the City

Solicitor, Mr. Tengood suffered lost time and earnings, severe mental and emotional anguish, and

the permanent loss of valuable personal property.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants City and the City Solicitor for compensatory damages,

interest, attorney’s fees, the cost of this action, and such other and further relief as this Court

shall deem just and appropriate.

   I. COUNT NINE - NEGLIGENCE:

                                           (ALL DEFENDANTS)

       198.    Mr. Tengood realleges and incorporates by reference the allegations contained in

each and every preceding paragraph, as if fully set forth herein.

       199.    Defendants owed Mr. Tengood a duty of care with respect to the execution of their

employment and/or agency with the City.

       200.    This duty includes, but is not limited to, express provisions of the Philadelphia

Home Rule Charter, binding upon all Defendants named herein.

       201.    Defendants did breach their duty of care, owed to Mr. Tengood, as more

particularly described by the allegations set forth above.

       202.    Mr. Tengood has been injured in his person, business, and property, to an extent

and in an amount to be proven at trial, as a direct and proximate result of Defendants’

Negligence.

       203.    As a direct and proximate result of the negligent acts of Defendants, Mr. Tengood

suffered lost time and earnings, severe mental and emotional anguish, and the permanent loss of

valuable personal property.


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               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants for compensatory damages, interest, attorney’s fees, the

cost of this action, and such other and further relief as this Court shall deem just and appropriate.


   J. COUNT TEN - MALICIOUS PROSECUTION:

              (DEFENDANTS CONWAY, SICINSKI, ELIA, HIGGINS, AND THE CITY SOLICITOR
                              IN THEIR INDIVIDUAL CAPACITIES)

       204.    Mr. Tengood realleges and incorporates by reference the allegations contained in

each and every preceding paragraph, as if fully set forth herein.

       205.    Defendants Conway, Sicinski, Elia, Higgins, and the City Solicitors’ conduct was

undertaken individually or in concert with one another during the Relevant Times.

       206.    Defendants Sicinski, Higgins, Elia and the City Solicitor participated in the

issuance and enforcement of fraudulent or otherwise unjustified violations of Philadelphia’s

Property Maintenance Code as part of their scheme to defraud Mr. Tengood.

       207.    The ultimate purpose of these actions was to further intimidate Mr. Tengood in

order to gain entry to his home in order to extort money and additional items of personal

property from him.

       208.    In particular, Defendant City Solicitor pursued two meritless civil prosecutions,

advocating in each case for court ordered search warrants, without probable cause and/or in bad

faith. It was the City Solicitor’s intention to procure Defendant Inspectors with a seemingly

lawful means of entry into Mr. Tengood’s home, in order to execute the scheme set forth above.

       209.    Defendant Conway acquiesced in the conduct undertaken by Sicinski, Elia,

Higgins, and the City Solicitor intentionally, willfully, recklessly, knowingly, or negligently

failing to discover, discipline or otherwise prohibit such conduct.


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       210.    What is more, these Defendants’ actions were wanton, malicious, and oppressive,

thus entitling Mr. Tengood to an award of punitive damages.

       211.    As a result of the Defendants’ conduct Mr. Tengood was the victim of malicious

prosecution in violation of 42 Pa. C.S. § 8351 et seq. (the Dragonnetti Act).

       212.    As a direct and proximate result of the Defendants’ actions and the malicious

prosecution caused therefrom, Mr. Tengood suffered lost time and earnings, severe mental and

emotional anguish, and the loss of personal property.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Conway, Sicinski, Elia, Higgins, and the City Solicitor

for compensatory damages, punitive damages, interest, attorney’s fees, the cost of this action,

and such other and further relief as this Court shall deem just and appropriate.


   K. COUNT ELEVEN - CONVERSION:

           (DEFENDANTS SICINSKI, ELIA, AND HIGGINS IN THEIR INDIVIDUAL CAPACITIES)

       213.    Mr. Tengood realleges and incorporates by reference the allegations contained in

each and every preceding paragraph as if fully set forth herein.

       214.    Defendants Sicinski, Elia, and Higgins’conduct was undertaken individually or in

concert with one another during the Relevant Times.

       215.    Whereas, Defendants Sicinski, Elia, and Higgins attempted to and did enter onto

Mr. Tengood’s property, and into his house, and seized items of his personal property situated

thereon, without his consent and without legal justification, deprived or otherwise interfered with

Mr. Tengood’s right to property and/or the use or possession of his chattels.

       216.    Defendants’ actions were wanton, malicious, and oppressive, thus entitling Mr.

Tengood to an award of punitive damages.

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       217.    As a direct and proximate result of Sicinski, Elia, and Higgins actions, Mr.

Tengood suffered the permanent loss of valuable personal property.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Sicinski, Elia, and Higgins for compensatory damages,

punitive damages, interest, attorney’s fees, the cost of this action, and such other and further

relief as this Court shall deem just and appropriate.


   L. COUNT TWELVE - TRESPASS:

           (DEFENDANTS SICINSKI, ELIA, AND HIGGINS IN THEIR INDIVIDUAL CAPACITIES)

       218.    Mr. Tengood realleges and incorporates by reference the allegations contained in

each and every preceding paragraph as if fully set forth herein.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Sicinski, Elia, and Higgins for compensatory damages,

punitive damages, interest, attorney’s fees, the cost of this action, and such other and further

relief as this Court shall deem just and appropriate.

   M. COUNT THIRTEEN - INVASTION OF PRIVACY:

           (DEFENDANTS SICINSKI, ELIA, AND HIGGINS IN THEIR INDIVIDUAL CAPACITIES)

       219.    Mr. Tengood realleges and incorporates by reference the allegations contained in

each and every preceding paragraph as if fully set forth herein.

               WHEREFORE, Plaintiff Steven P. Tengood respectfully prays for judgment,

jointly and severally against Defendants Sicinski, Elia, and Higgins for compensatory damages,

punitive damages, interest, attorney’s fees, the cost of this action, and such other and further

relief as this Court shall deem just and appropriate.




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                                IV. DECLARATION OF GOOD FAITH

             220.    Each and every allegation set forth at length in Paragraphs 1 to 219 above is likely

      to have evidentiary support after a reasonable opportunity for further investigation or discovery.




Dated: December 2, 2011

                                                                   Respectfully Submitted,




                                                                   ______________________________

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                                       APPENDIX I

DSM-IV

Diagnostic Criteria for 300.3 Obsessive Compulsive Disorder

A. Either Obsessions or compulsions:

       Obsessions as defined by (1), (2), (3), and (4):

       (1) recurrent and persistent thoughts, impulses, or images that are experienced, at some
           time during the disturbance, as intrusive and inappropriate and that cause marked
           anxiety or distress
       (2) the thoughts, impulses, or images are not simply excessive worries about real life
           problems
       (3) the person attempts to ignore or suppress such thoughts, impulses, or images, or to
           neutralize them with some other thought or action
       (4) the person recognizes that the obsessional thoughts, impulses, or images are a product
           of his or her own mind (not imposed from without as in thought insertion)

       Compulsions as defined by (1) and (2):

       (1) repetitive behaviors (e.g. hand wahsing, ordering, checking) or mental acts (e.g.
           praying, counting, repeating words silently) that the person feels driven to perform in
           response to an obsession, or according to the rules that must be applied rigidly
       (2) the behavior or mental acts are aimed at preventing or reducing distress or preventing
           some dreaded event or situation; however, these behaviors or mental acts either are
           not connected in a realistic way with what they are designed to neutralize or prevent
           or are clearly excessive

B. At some point during the course of the disorder, the person has recognized that the obsessions
   or compulsions are excessive or unreasonable.

C. The obsessions or compulsion cause marked distress, are time consuming (take more than 1
   hour a day), or significantly interfere with the person’s normal routine, occupational (or
   academic) functioning or usual social activities or relationships.

D. If another Axis I disorder is present, the content of the obsessions or compulsions is not
   restricted to it...

E. The disturbance is not due to the direct physiological effects of a substance (e.g. a drug of
   abuse, a medication) or a general medical condition.




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Specify if:

With Poor Insight: if, for most of the time during the current episode, the person does not
recognize that the obsessions and compulsions are excessive or unreasonable.


Source: Am. Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental Disorders, Text
        Revision (4th ed. 2000).




Proposed Amendments and Additions to Forthcoming DSM-V

Hoarding Disorder

The work group is recommending that this be included in DSM-5 but is still examining the
evidence as to whether inclusion is merited in the main manual or in an Appendix for Further
Research.

A. Persistent difficulty discarding or parting with possessions, regardless of the value others may
attribute to these possessions. *

B. This difficulty is due to strong urges to save items and/or distress associated with discarding

C. The symptoms result in the accumulation of a large number of possessions that fill up and
clutter active living areas of the home or workplace to the extent that their intended use is no
longer possible. If all living areas are uncluttered, it is only because of the interventions of third
parties (e.g., family members, cleaners, authorities).

D. The symptoms cause clinically significant distress or impairment in social, occupational, or
other important areas of functioning (including maintaining a safe environment for self and
others).

E. The hoarding symptoms are not due to a general medical condition (e.g., brain injury,
cerebrovascular disease).

F. The hoarding symptoms are not restricted to the symptoms of another mental disorder (e.g.,
hoarding due to obsessions in Obsessive-Compulsive Disorder, decreased energy in Major
Depressive Disorder, delusions in Schizophrenia or another Psychotic Disorder, cognitive deficits
in Dementia, restricted interests in Autism Spectrum Disorder, food storing in Prader-Willi
Syndrome).


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Specify if:

With Excessive Acquisition: If symptoms are accompanied by excessive collecting or buying or
stealing of items that are not needed or for which there is no available space.

Specify whether hoarding beliefs and behaviors are currently characterized by:

Good or fair insight: Recognizes that hoarding-related beliefs and behaviors (pertaining to
difficulty discarding items, clutter, or excessive acquisition) are problematic.

Poor insight: Mostly convinced that hoarding-related beliefs and behaviors (pertaining to
difficulty discarding items, clutter, or excessive acquisition) are not problematic despite evidence
to the contrary.

Absent insight: Completely convinced that hoarding-related beliefs and behaviors (pertaining to
difficulty discarding items, clutter, or excessive acquisition) are not problematic despite evidence
to the contrary.

 * The Working Group is considering alternative wording: “Persistent difficulty discarding or
parting with possessions, regardless of their actual value.”

RATIONALE

1. Epidemiological studies suggest that hoarding occurs in 2-5% of the population and can lead
to substantial distress and disability, as well as serious public health consequences that warrant
consideration as a mental disorder. Most cases do not meet criteria for OCD or OCPD.
Accumulating data challenge the current view of a specific relationship between hoarding and
OCD/OCPD, and whether these diagnoses cover all the severe hoarding cases.

2. The creation of a new diagnosis in DSM-5 would likely increase public awareness, improve
identification of cases, and stimulate both research and the development of specific treatments for
Hoarding Disorder.

3. Criteria A-E: The proposed criteria are very similar to previously published criteria, which
were based on research and clinical experience and that have been widely adopted by the field
since 1996.

4. Specifiers:

        a. The majority of people with hoarding disorder excessively acquire things either
           through buying or obtaining free things. However, not everyone with hoarding
           problems reports excessive acquisition, so including it as a diagnostic criterion would
           exclude people with true hoarding problems. Since recognition of and intervention for
           excessive acquisition is crucial for successful treatment of hoarding disorder, it is
           included as a specifier.


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       b. Available data suggest that a range of insight can characterize hoarding disorder. The
          proposed specifiers are similar to those proposed for other disorders, and they appear
          applicable to hoarding disorder.


RELATION TO CURRENT DSM-IV-TR

This disorder is not listed in DSM-IV; therefore, DSM-IV criteria for this disorder do not exist.

In DSM-IV, ‘the inability to discard worn-out or worthless objects even when they have no
sentimental value’ is one of the 8 criteria for Obsessive-Compulsive Personality Disorder
(OCPD)

In the text accompanying the OCPD criteria, DSM-IV states:

“Despite the similarity in names, OCD is usually easily distinguished from OCPD by the
presence of true obsessions and compulsions. A diagnosis of OCD should be considered
especially when hoarding is extreme (e.g. accumulated stacks of worthless objects present a fire
hazard and make it difficult for others to walk through the house). When criteria for both
disorders are met, both diagnoses should be recorded” (p. 728)



Source: DSM-5 Development, Am. Psychiatric Ass’n, http://www.dsm5.org/ProposedRevision/
        Pages/proposedrevision.aspx?rid=398 (last visited Dec. 2, 2011).




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